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7                   IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )        CASE NO. 2:09-CR-299 EJG
                                   )
11                  Plaintiff,     )
                                   )        ORDER RE VICTIM NOTIFICATION
12        v.                       )
                                   )
13   SUSAN BICKAR                  )
          aka Susan Carlson,       )
14        &                        )
                                   )
15   TIM CARLSON                   )
                    Defendants.    )
16   ______________________________)
17        Upon consideration of the Government’s Motion Regarding
18   Victim Notification and for the reasons set forth therein, the
19   Court finds that no further notice to potential victims is
20   required in this case.
21        SO ORDERED.
22

23   DATE: September 14, 2009
                                            /s/ Edward J. Garcia
24                                          HON. EDWARD J. GARCIA
                                            U.S. District Judge
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